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UNITED STATES DISTRICT COURT                                              USDC SDNY
SOUTHERN DISTRICT OF NEW YORK                                             DOCUMENT
                                                                          ELECTRONICALLY FILED
 PFIZER, INC.,
                                                                          DOC #:
                           Plaintiff,                                     DATE FILED: 6/14/2021

                      -against-                                1:20-cv-04920-MKV

 UNITED STATES DEPARTMENT OF HEALTH                          SCHEDULING ORDER
 AND HUMAN SERVICES, ALEX M. AZAR II,
 and CHRISTI A. GRIMM,

                           Defendants.

MARY KAY VYSKOCIL, United States District Judge:

       On the consent of the parties, the Oral Argument previously scheduled for June 16, 2021

is adjourned to June 22, 2021 at 2:00PM. The argument will be held remotely by

videoconference using the Microsoft Teams platform. The parties will receive links by email.

Interested members of the public and media may listen to the argument by telephone using the

following dial-in information:

       Number: 917-933-2166

       Access Code: 149464335#



SO ORDERED.
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Date: June 14, 2021                                MARY YK KAY
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      New York, NY                                 United
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